887 F.2d 1079Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Marvin HILL, a/k/a Melvin Taylor, a/k/a Marvin Grant,Petitioner-Appellant,v.Thomas WARD, Respondent-Appellee.
    No. 89-7156.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  June 15, 1989.Decided:  Sept. 28, 1989.
    
      Marvin Hill, appellant pro se.
      John Joseph Curran, Jr., Beverly Peyton Griffith (Office of the Attorney General), for appellee.
      Before DONALD RUSSELL, CHAPMAN and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Marvin Hill noted this appeal outside the 30-day appeal period established by Fed.R.App.P. 4(a)(1), and failed to move for an extension of the appeal period within the additional 30-day period provided by Fed.R.App.P. 4(a)(5).  The time periods established by Fed.R.App.P. 4 are "mandatory and jurisdictional."    Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.  We therefore deny a certificate of probable cause to appeal and dismiss the appeal.  We dispense with oral argument because the dispositive issues recently have been decided authoritatively.
    
    
      2
      DISMISSED.
    
    